   Case 23-00484        Doc    Filed 02/29/24      Entered 02/29/24 09:10:35       Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF IOWA

In Re:                                        )   Case No.: 23-00484
                                              )
BDC GROUP, INC.,                              )   Chapter 7
                                              )
         Debtor & Debtor in Possession        )   Hon. Thad J. Collins
                                              )
                                              )   ORDER RE: PRO HAC VICE ADMISSION


         The matter before the Court is the Motion for Admission Pro Hac Vice (Doc. 435) of

Jordan Kroop as attorney for Zayo Group, LLC. Having reviewed the motion, the Court finds

that the application substantially conforms to the requirements of L.R. 2090-l(b)(3).

         IT IS ORDERED that the application to admit Jordan Kroop to practice before

this court for the purpose of this case is GRANTED.

         IT IS FURTHER ORDERED that the attorney is subject to the jurisdiction of this court

and is bound by the Iowa Rules of Professional Conduct and the court's Local Rules of Practice

and Procedure. This order shall not be considered admission to practice generally before this

Court or the U.S. District Court for the Northern District of Iowa.

         IT IS FURTHER ORDERED that Jordan Kroop shall file his Notice of Appearance

and Request for Notice in this case.

Ordered:
                 28 , 2024
Dated: February ___



                                       Thad J. Collins
                                       Chief Bankruptcy Judge
